902 F.2d 30Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Otis BLACKMON, Defendant-Appellant.
    No. 90-7000.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 28, 1990.Decided April 17, 1990.Rehearing Denied May 9, 1990.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, Chief District Judge.  (CR No. 87-42-C)
      Otis Blackmon, appellant pro se.
      Harry Thomas Church, Office of the United States Attorney, Charlotte, N.C., for appellee.
      W.D.N.C.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Otis Blackmon appeals from the district court's order denying his motion for reconsideration of his Rule 35(a) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Blackmon, CR No. 87-42-C (W.D.N.C. Dec. 12, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    